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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


 TINNUS ENTERPRISES, LLC and ZURU LTD.,

         Plaintiffs,

                 v.                                         Case No. 6:16-CV-00033-RWS-JDL
                                                                        (Lead Case)
 TELEBRANDS CORP.,

         Defendant.


 TINNUS ENTERPRISES, LLC,

         Plaintiff,
                                                             Case No. 6:16-CV-00034-RWS-JDL
                 v.                                        (Consolidated with Lead Case 6:16-CV-
                                                                      00033-RWS-JDL)
 WAL-MART STORES INC., et al.

         Defendants.

          NOTICE OF DECISION BY PATENT TRIAL AND APPEAL BOARD
         INSTITUTING POST-GRANT REVIEW OF U.S. PATENT NO. 9,242,749

        Defendants hereby provide notice of the decision by the Patent Trial and Appeal Board

(“Board”) in Telebrands Corp. v. Tinnus Enterprises, LLC, PGR2016-00030/U.S. Patent No.

9,242,749. In the institution decision, entered on February 21, 2017, and attached hereto as Exhibit

1, the Board “determine[d] that Petitioner has established that it . . . more likely than not . . . will

prevail under 35 U.S.C. § 103 on its challenges to claim 1 as obvious over the combination of

Cooper, Saggio, and Donaldson, and to claim 1 as obvious over the combination of Saggio and

Donaldson.” (Ex. 1, p. 34.)
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 Dated: February 21, 2017                  By:   /s/ Lance Lee

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with notice of the filing of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(a) on February 21, 2017.

                                                     /s/Lance Lee
                                                        Lance Lee
